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 8                   United States District Court
 9                   Central District of California
10                        Western Division
11

12    KELVIN HERNANDEZ ROMAN, et al.,                      ED CV 20-00768 TJH
13                       Petitioners-Plaintiffs,
14          v.                                                     Order
15    ALEJANDRO MAYORKAS, et al.,
16                       Respondents-Defendants.
17

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20         The Court has considered proposed intervenor Geo Group, Inc.’s [“Geo Group”]
21   motion to intervene and Petitioners-Plaintiffs’ ex parte application for leave to file a
22   sur-reply to the motion to intervene, together with the moving and opposing papers.
23         On April 13, 2020, Petitioners-Plaintiffs filed this action, challenging the
24   constitutionality of their conditions of confinement while detained at Adelanto in light
25   of the COVID-19 pandemic.
26         Geo Group is the owner and operator of the Adelanto Processing Center
27   [“Adelanto”].    According to Geo Group, it “is a party to a contract with [the
28   Government] in which [the Government] provides [Geo Group] with compensation for

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 1   the use and operation of Adelanto for immigration detainees.” While Petitioners-
 2   Plaintiffs did not join Geo Group as a defendant, they did join one of its employees,
 3   Adelanto Facility Administrator James Janecka. Mr. Janecka was sued in his official
 4   capacity and identified in the complaint as Adelanto’s warden.         For unspecified
 5   reasons, the Government has represented Janecka since the onset of this case.
 6         On April 14, 2020, Petitioners-Plaintiffs moved for a preliminary injunction to
 7   reduce the population of Adelanto to a level that would permit social distancing. On
 8   April 23, 2020, the Court issued its preliminary injunction.           Thereafter, the
 9   Government appealed and the Ninth Circuit stayed the preliminary injunction pending
10   the outcome of the appeal.
11         On September 23, 2020, the Ninth Circuit affirmed the preliminary injunction
12   and lifted the stay, specifically noting this Court’s “authority to order a reduction in
13   population” at Adelanto. See Hernandez Roman v. Wolf, 829 F. App’x. 165, 171 (9th
14   Cir. 2020).
15         On September 29, 2020, the Court issued its modified preliminary injunction,
16   which ordered the Government, inter alia, to file a proposed detainee population
17   reduction plan with a recommendation as to the maximum number of detainees that can
18   be safely housed at Adelanto. In addition, both the preliminary injunction and the
19   modified preliminary injunction prohibited the transfer of new detainees into Adelanto.
20         On October 15, 2020, after the parties filed their respective briefs, the Court
21   issued its Adelanto Population Reduction Order.
22         On October, 20, 2020, the Court appointed a Special Master because, in part,
23   of the inability of the Government and, to some extent, Geo Group, to provide the
24   Court with timely and accurate information. During the pendency of this case,
25   Adelanto experienced two COVID-19 outbreaks – most likely caused by Geo Group
26   employees bringing the virus into the facility.
27         The number of detainees at Adelanto, now, has been greatly reduced such that
28   there is ample space that allows for social distancing. Moreover, Geo Group has

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 1   endeavored to vaccinate the remaining detainees.
 2         According to Petitioners-Plaintiffs and the Government, the parties are,
 3   currently, engaged in settlement discussions with the assistance of a Ninth Circuit
 4   mediator.
 5         Geo Group, now, moves to intervene and to further modify the modified
 6   preliminary injunction.
 7         As a threshold requirement, a proposed intervener bears the burden of
 8   establishing that its intervention is timely. See United States v. Cal., 538 F. App’x.
 9   759, 760 (9th Cir. 2013). “A party seeking to intervene must act as soon as [it] knows
10   or has reason to know that his interest might be adversely affected by the outcome of
11   the litigation.” Cal., 538 F. App’x. at 760. When considering the timeliness of a
12   motion to intervene, the Court must consider: (1) The stage of the proceedings when
13   intervention is sought; (2) Possible Prejudice to the current parties; and (3) The reason
14   for and length of the delay. See Cal., 538 F. App’x. at 760.
15         Here, Geo Group argued that its intervention is, now, necessary because the
16   Government is no longer protecting its interests in that Adelanto could, now, safely
17   increase its detainee population given the availability of vaccines and the updated
18   guidance from, inter alia, the Centers for Disease Control and Prevention. According
19   to Geo Group, “the current scope of the injunction, including its capacity limitations
20   and ban on new transfers, impacts [Geo Group’s] service and obligations and its
21   compensation under its contract with the [Government].” Thus, the basis for Geo
22   Group’s motion is that its financial interests are tied to the number of detainees housed
23   at Adelanto.
24         Adelanto’s detainee population has been extensively litigated in this matter for
25   some 15 months. Geo Group knew, or at least should have known, that its interests
26   would be adversely affected by this case. First, Adelanto’s warden, a Geo Group
27   employee, has been a named defendant in this case since its inception and has submitted
28   several declarations. Second, the size of Adelanto’s detainee population was raised at

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 1   every critical stage in this case, including, inter alia: (1) Petitioners-Plaintiffs’ motion
 2   for a preliminary injunction; (2) The appeal of the preliminary injunction; and (3) The
 3   Court’s order requiring the parties to propose an appropriate detainee population size
 4   in advance of its Adelanto Population Reduction Order. Geo Group’s failure to move
 5   to intervene at any of those critical stages makes the instant motion untimely. See Cal.,
 6   538 F. App’x. at 760.
 7         Geo Group argued that its intervention is only now necessary because its interests
 8   are no longer aligned with the Government. However, that argument is disingenuous.
 9   The interests of Geo Group and the Government with regard to Adelanto’s detainee
10   population were never fully aligned. As Geo Group conceded, “all detainee transfers
11   into and out of [Adelanto] are dictated by [the Government], which has complete
12   control over detainee movement between facilities.” Thus, while it might be within
13   Geo Group’s interests for the Government to maximize Adelanto’s detainee population,
14   Geo Group failed to cite to any evidence that requires the Government, contractually
15   or otherwise, to do so.
16         Geo Group, further, argued that the availability of COVID-19 vaccines have,
17   now, changed the circumstances regarding Adelanto’s detainee population. However,
18   that argument is of no importance as to the timeliness of Geo Group’s motion to
19   intervene. As the Court, and the Ninth Circuit, noted, the COVID-19 risks at Adelanto
20   have been constantly changing, but the one constant issue has been the importance of
21   Adelanto’s detainee population and its effects on detainee safety.
22         Finally, the parties are, currently, engaged in settlement negotiations with the
23   assistance of a Ninth Circuit mediator. It would be prejudicial to the parties if the
24   Court were to permit Geo Group to intervene at this juncture.
25         Consequently, Geo Group failed to establish that its motion to intervene was
26   timely. See Cal., 538 F. App’x. at 760.
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28         Accordingly,

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